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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 8:21-cv-01313-JLS-KES                                        Date: October 01, 2021
 Title: Amina Yazdanie et al v. Specialized Loan Servicing LLC et al

  Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

       Melissa Kunig                                                   N/A
       Deputy Clerk                                               Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:               ATTORNEYS PRESENT FOR DEFENDANT:

        Not Present                                               Not Present


 PROCEEDINGS: (IN CHAMBERS) ORDER TO SHOW CAUSE WHY
              THIS ACTION SHOULD NOT BE REMANDED TO
              STATE COURT

         On June 2, 2021, Plaintiff filed the instant action in California Superior Court.
 (See Compl., Ex. A to Notice of Removal, Doc. 1-1.) Defendant filed its Notice of
 Removal on August 6, 2021. (See Notice of Removal, Doc. 1.) Plaintiff has filed a
 Motion to Remand asserting that Defendant’s Notice of Removal was untimely, as it was
 filed well outside the 30-day time period in which a notice of removal may be filed under
 28 U.S.C. § 1446(b). (See Mot. to Remand, Doc. 10.) Accordingly, Defendant is
 ORDERED to show cause, in writing, no later than five (5) days from the date of this
 Order, why this action should not be remanded on account of Defendant’s untimely
 notice of removal.


                                                           Initials of Deputy Clerk: mku




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                          CIVIL MINUTES – GENERAL                            1
